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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT

              UNITED STATES OF AMERICA
                                  v.
                     MARTIN W. HARGET                                            Case Number: 4:09CR40083-001-JPG
                                                                                 USM Number: 08256-025

                                                                                  Robert Herman
                                                                                 Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)            1 of the Superseding Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not gUilty.

The defendant is adjudicated guilty of these offenses:




 21 U.S.C. 841                     Conspiracy to manufacture Methamphetamine                                 11/11/2009                  15



       The defendant is sentenced as provided in pages 2 through          __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) ----------------------- o is                           o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan~e of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenClant must notify the court and United States attorney of material clianges in economIC circumstances.




                                                                           J. Phil Gilbert                             District Judge
                                                                          Name ofJ   ge                               Title of Judge
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AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page   2   of     6
DEFENDANT: MARTIN W. HARGET
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                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 240 months on Count 1 of the Superseding Indictment




    ~ The court makes the following recommendations to the Bureau of Prisons:

 That the defendant be place in the Intensive Drug Treatment Program.



    ~ The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
      o at __________ 0 a.m. o p.m. on
          o as notified by the United States Marshal.
    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before 2 p.m. on
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL



                                                                        By _________~~~~~~~~~==~----__----
                                                                                           DEPUTY UNITED STATES MARSHAL
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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

                                                                                                            Judgment-Page   _~3_ of             6
DEFENDANT: MARTIN W. HARGET
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                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tenn of :
 10 years on Count 1 of the Superseding Indictment

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any: unlawful use of a controIIed
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as detennined by the court.
 o        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shaII not possess a frreann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

          The defendant shall comply with the requirements of.the Sex Offender Registration and.Notification Ac~ (42lJ.S.C. § 16901, f!t seq.)
 o        as direc~ed by the probatIon offi~er, the Bureal;! ofPnsons, or any state sex offender regIstratIOn agency m WhIch he or she reSIdes,
          works, IS a student, or was convIcted of a quabfymg offense. (Check, if applicable.)

 o        The defendant shaII participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shan support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted penn iss ion to do so by the probatIOn officer;
  10)       the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall penn it confiscation of any
            contraband observed in plain view of the probation officer;
  11)       the defendant shan notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the d~fe.ndant shan not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
            pennIssIOn of the court; and

  13)      as directed by the probation officer, the defendant shan notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersonal history or characteristics and shan pennit the probation officer to make such notifications and to confinn the
           defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C - Supervised Release

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DEFENDANT: MARTIN W. HARGET
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10 .. 00 or ten
 percent of his net monthly income, whichever is greater, to commence 30 days after release from imprisonment to a term
 of supervision, until paid in full

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
 treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence and/or participation in a residential treatment facility. Any
 partiCipation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.

 X As the defendant has a history of growing marihuana at his residence, the defendant shall submit his person, residence,
 real property, place of business, computer, or vehicle to a search, conducted by the United States Probation Officers at a
 reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of
 a condition of supervision. Failure to submit to a search may be grounds for revocation. The defendant shall inform any
 other residents that the premises may be subject to a search pursuant to this condition.




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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties

                                                                                                               Judgment - Page    5    of       6
DEFENDANT: MARTIN W. HARGET
CASE NUMBER: 4:09CR40083-001-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                              Fine                                   Restitution
 TOTALS            $ 100.00                                                $ 100.00                               $ 0.00


 o The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AG 245C) will be entered
     after such determination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paId.




TOTALS                               $                            0.00           $ ____________~O~.O~O_


o    Restitution amount ordered pursuant to plea agreement $

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

'¥' The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     rij the interest requirement is waived for the              ~ fine      0    restitution.
     o the interest requirement for the               o   fine    0      restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apri123, 1996.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6    Schedule of Payments

                                                                                                                Judgment - Page   _~6,---    of          6
DEFENDANT: MARTIN W. HARGET
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     riI Lump sum payment of $                                 due immediately, balance due

           o     not later than                                      , or
           o     in accordance           o C,         0 D,      0      E, or     r/Fbelow; or

B     0    Payment to begin immediately (may be combined with                  0 C,       o D, or       0 F below); or
c     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     riI Special instructions regarding the payment of criminal monetary penalties:
             X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
            commencement of the term of supervised release. The defendant shall pay the fine in installments of $10 .. 00 or
            ten percent of his net monthly income, whichever is greater, to commence 30 days after release from
            imprisonment to a term of supervision, until paid in full


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made throUgh the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



o     Joint and Several

      Defendant and ~o-Defend~nt Name~ and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and correspondmg payee, If appropnate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest (4) fine principal
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.               '
